                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                                 AT KNOXVILLE




UNITED STATES OF AMERICA,                              )
                                                       )
v.                                                     )      No. 3:05-CR-142
                                                       )      (Phillips)
ROBERT L. SMITH                                        )



        AMENDED ORDER OF COMMITMENT FOR MENTAL EXAMINATION

             This matter came before the court on April 24, 2006, on defendant’s motion

for psychological examination. The government does not oppose the motion. Accordingly,

defendant shall be examined pursuant to the provisions of 18 U.S.C. §§ 4241 and 4242.

This amended order supersedes the court’s order entered on April 26, 2006 [Doc. 73].



             The names, addresses, and telephone numbers of the Assistant United

States Attorney, defense counsel, and defendant’s pretrial services officer are:

             (a)    Government’s counsel: Mike Winck
                    PO Box 872, Knoxville, TN 37902
                    865/545-4167

             (b)    Defense counsel: Robert L. Vogel
                    PO Box 31464, Knoxville, TN 37930
                    865/357-1949

             (c)    Probation officer: John Lynn
                    800 Market Street, Ste 311, Knoxville, TN 37902
                    865/545-4001




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              IT IS THEREFORE ORDERED:

              1.     That the United States Marshal is hereby directed to transport the

defendant to the nearest suitable psychiatric facility (hospital) for purposes of psychiatric

evaluation, pursuant to 18 U.S.C. § § 4241 and 4242. Said commitment shall be for a

reasonable period not to exceed forty-five (45) days, unless otherwise ordered, and such

reasonable period to commence upon defendant’s arrival at the examining facility.

              2.     That the receiving facility and doctor in whose primary care the

defendant is placed shall file a written report with this court as soon as practicable with

copies to counsel for the government and the defendant, said report to include:

              a.     the defendant’s history and present symptoms;

              b.     a description of the psychiatric, psychological,
                     and medical tests that were employed and the
                     results;

              c.     the examiner’s findings; and

              d.     the examiner’s opinions as to diagnosis,
                     prognosis, and

                     1.     whether the defendant is suffering from a
                     mental disease or defect rendering him mentally
                     incompetent to the extent that he is unable to
                     understand the nature and consequences of the
                     proceedings against him or to assist property in
                     his defense; and

                     2.    whether defendant suffered from such
                     mental disease or defect which rendered him
                     insane at the time of the offenses charged; and

                     3.   defendant’s cognitive abilities and
                     comprehension, including, but not limited to, his


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                     reading and writing levels and relative
                     educational and/or scholastic level; and

                     4.      defendant’s IQ (or other appropriate,
                     acceptable and reliabile measure of cognitive
                     ability); and

                     5.     whether defendant could have acted as
                     the leader or supervisor of a criminal drug
                     conspiracy of the type contemplated in his
                     indictment, plea agreement and presentence
                     report; and

                     6.      whether defendant suffers from a
                     psychological deficiency, abnormality, disorder,
                     neurosis, psychosis, or other disabling or
                     debilitating mental, psychological, or emotional
                     condition; and

                     7.    a personality test to determine any
                     personality traits or disorders; and

                     8.     whether defendant suffers from any
                     physiological deficiencies, malformations,
                     handicaps, or any other overtly physical disability
                     that might affect his competency; and

                     9.     Treatment recommendations for any
                     deficiencies, problems, diseases, disabilities,
                     dysfunctions, disorders or any other issues
                     revealed during the course of said examination.

              3.     The defendant be given any necessary medications if determined

appropriate to do so by the medical staff at the facility.

              4.     That the psychiatrist/psychologist have access to any pretrial services

and probation reports completed on the defendant in this case.

              5.     That the psychiatrist/psychologist have access to all available medical

records on the defendant.

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              6.     The United States Marshal shall notify the clerk of the court and the

undersigned’s office promptly when defendant returns to this jurisdiction from the mental

evaluation. A competency hearing will then be scheduled.

              7.     The Clerk is DIRECTED to serve a copy of this order on all counsel

of record, to forward a copy to the Probation officer, and to serve three certified copies on

the U.S. Marshal.



              IT IS SO ORDERED.



                                          ENTER:




                                                 s/ Thomas W. Phillips
                                               United States District Judge




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